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 8                       UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
10

11   SUCCESSWARE, INC.,                         Case No. 2:20-cv-05197
12                             Plaintiff,       COMPLAINT AND DEMAND
                                                FOR JURY TRIAL
13                        v.
                                                NATURE OF PROCEEDING:
14   SERVICETITAN, INC. and
     POINTMAN LLC,                              1. LANHAM ACT (15 U.S.C.
15                                                 § 1051);
                               Defendants.      2. CALIFORNIA BUSINESS &
16                                                 PROFESSIONS CODE
                                                   § 17500;
17                                              3. DEFEND TRADE SECRETS
                                                   ACT (18 U.S.C. § 1836);
18                                              4. CALIFORNIA’S UNIFORM
                                                   TRADE SECRETS ACT
19                                                 (CAL. CIV. CODE § 3426);
                                                5. BREACH OF CONTRACT;
20                                              6. TORTIOUS
                                                   INTERFERENCE WITH
21                                                 EXISTING BUSINESS
                                                   RELATIONSHIPS;
22                                              7. TORTIOUS
                                                   INTERFERENCE WITH
23                                                 CONTRACTUAL
                                                   RELATIONSHIPS;
24                                              8. CALIFORNIA BUSINESS &
                                                   PROFESSIONS CODE
25                                                 § 17200.
26

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 1         Plaintiff SuccessWare, Inc. (“SuccessWare”) hereby complains and alleges
 2   the following against Defendants ServiceTitan, Inc. (“ServiceTitan”) and Pointman
 3   LLC (“Pointman,” and together with ServiceTitan, “Defendants”).
 4                                    INTRODUCTION
 5         1.     On May 26, 2020, SuccessWare’s competitor ServiceTitan announced
 6   that it had acquired SuccessWare’s long-time software development partner,
 7   Pointman. In the years leading up to the acquisition, SuccessWare had entrusted
 8   Pointman with wide-ranging access to SuccessWare’s most competitively important
 9   trade secrets: its source code, software and database architecture, and customer
10   contact list. Pointman had built its entire business model on serving SuccessWare’s
11   customers. When it sold itself to ServiceTitan, Pointman still possessed all of
12   SuccessWare’s confidential information. Not only have ServiceTitan and Pointman
13   failed to return that material, but they have directly targeted SuccessWare’s
14   customers with deceitful and deceptive marketing. This lawsuit inevitably followed.
15         2.     SuccessWare first began developing and marketing software products
16   for residential contractors more than twenty-five years ago, with the goal of helping
17   contractors more effectively, efficiently, and profitably manage and operate their
18   businesses, no matter the size. SuccessWare’s flagship product, SuccessWare21, is
19   a business management software package for residential contractors. At the time,
20   SuccessWare21 generally operated on desktop or laptop computers. As mobile
21   phones began to have more robust features in the early 2000s, SuccessWare wanted
22   to offer a way to access SuccessWare21 from a mobile phone.
23         3.     To assist it in this venture, in 2006, SuccessWare started working with
24   Pointman to develop and implement the mobile application it envisioned. The
25   result was the SWRemote Application (“SWRemote”). This application allowed
26   SuccessWare’s customers to use a mobile phone to access SuccessWare’s desktop-
27   based software, SuccessWare21. SuccessWare granted Pointman a non-exclusive,
28   non-transferable license that permitted it to integrate SWRemote with
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 1   SuccessWare21. Pointman did not gain any rights to SuccessWare’s confidential
 2   information, including but not limited to the source code of SuccessWare21, the
 3   SuccessWare21 application programming interface (“API”), or SuccessWare’s
 4   customer information. In fact, Pointman acknowledged such information was secret
 5   and agreed to keep it secret, and to restrict its use. In exchange for this license,
 6   Pointman agreed to pay royalties to SuccessWare on its sales of SWRemote.
 7         4.     The relationship between SuccessWare and Pointman started as
 8   mutually beneficial, with Pointman creating a business wholly based on giving
 9   SuccessWare’s customers mobile access to SuccessWare’s proprietary software.
10   That feature was useful to SuccessWare and to SuccessWare’s customers, and
11   Pointman benefited from sales of SWRemote. But Pointman got greedy. First, it
12   stopped paying SuccessWare the royalties that were contractually owed. Then, in
13   May 2020, Pointman put a halt to a decade-and-a-half relationship with
14   SuccessWare by allying itself with SuccessWare’s chief competitor, ServiceTitan.
15         5.     On May 26, 2020, ServiceTitan announced that it had acquired
16   Pointman. That same day, ServiceTitan launched a campaign of false and
17   misleading commercial advertisements intended to deceive SuccessWare’s
18   customers into switching providers by claiming, falsely, that “SuccessWare [is]
19   shutting down SWRemote” and that SuccessWare’s customers must therefore
20   migrate to ServiceTitan’s product. ServiceTitan targeted these advertisements to
21   SuccessWare’s customers immediately after acquiring Pointman, which—by virtue
22   of its fifteen years of work with SuccessWare, was in possession of confidential
23   customer information that SuccessWare had compiled over its twenty-six years of
24   operation.
25         6.     Ultimately, these tactics have achieved the result ServiceTitan hoped
26   for: substantial damage to SuccessWare and its business. SuccessWare is certain to
27   suffer—and indeed, has already suffered—economic, competitive, and reputational
28   harm as a direct result of ServiceTitan’s scheme. This form of unfair competition

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 1   violates state and federal law, as well as the contractual obligations Pointman and its
 2   now-owner ServiceTitan owe to SuccessWare. Accordingly, SuccessWare requests
 3   that this Court enjoin ServiceTitan, and any and all of its subsidiaries, agents, or
 4   alter egos, from deceiving SuccessWare’s customers through the dissemination of
 5   false and misleading advertisements and improperly using SuccessWare’s
 6   confidential information. SuccessWare also requests that this Court provide
 7   appropriate damages and relief to Plaintiff for Defendants’ unlawful conduct.
 8                                      THE PARTIES
 9         7.     Plaintiff SuccessWare is a Missouri corporation with its headquarters
10   in Clarence, New York.
11         8.     Defendant ServiceTitan is a Delaware corporation with its headquarters
12   in Glendale, California.
13         9.     Defendant Pointman is a New York limited liability company with its
14   headquarters in Buffalo, New York. Upon information and belief, Pointman LLC is
15   the successor-in-interest of “Successware Remote LLC,” a limited liability company
16   that changed its name to Pointman LLC on September 22, 2006 through a filing
17   with the New York Department of State. Pointman, as a mere continuation of
18   Successware Remote LLC, has chosen to stand in the shoes of its predecessor and
19   accept the business expectations of those who dealt with or otherwise entered into
20   an agreement with Successware Remote LLC. Upon information and belief,
21   following ServiceTitan’s acquisition of Pointman on or about May 21, 2020,
22   Pointman is an alter ego, subsidiary, and agent of ServiceTitan, as detailed further
23   herein. Successware Remote LLC and Pointman LLC are herein collectively
24   referred to as “Pointman.” For all dates following May 21, 2020, Pointman and
25   ServiceTitan are collectively referred to as “ServiceTitan” herein.
26                                     JURISDICTION
27         10.    This Court has original federal jurisdiction over the subject matter of
28   this action pursuant to the Lanham Act, 15 U.S.C. § 1051 et seq.; the Defend Trade

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 1   Secrets Act, 18 U.S.C. § 1836 et seq.; and 28 U.S.C. § 1331. The Court has
 2   supplemental jurisdiction over the subject matter of the other claims pled herein
 3   pursuant to 28 U.S.C. § 1367.
 4         11.    This Court has personal jurisdiction over Defendant ServiceTitan
 5   because ServiceTitan has its principal place of business in California.
 6         12.    This Court has personal jurisdiction over Defendant Pointman pursuant
 7   to California’s long-arm jurisdictional statute, which is coextensive with federal due
 8   process requirements. Pointman has directly subjected itself to the jurisdiction of
 9   this Court because (1) Pointman has purposefully directed and continues to
10   purposefully direct certain wrongful activities, as alleged herein, toward
11   SuccessWare’s customers located in California; (2) the claims alleged herein arise
12   out of and relate to those contacts with California; and (3) bringing Pointman within
13   this Court’s jurisdiction is reasonable and does not offend traditional notions of fair
14   play and substantial justice.
15                                           VENUE
16         13.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
17   at least one Defendant is a resident of this District, and in addition, a substantial part
18   of the events or omissions constituting violations of the claims pled herein occurred
19   or arose in the Western Division of this District.
20                               FACTUAL ALLEGATIONS
21         14.    SuccessWare, a software developer for contractors, has sought for over
22   twenty-five years to help its customers make their contracting businesses more
23   effective, efficient, and profitable. SuccessWare accomplishes this goal by
24   marketing products such as SuccessWare21, a business management software
25   package specifically tailored to the needs of residential contractors.
26         15.    With the rise of portable handheld devices and the more robust features
27   offered on them in the early 2000s, SuccessWare recognized an opportunity to
28   better serve its customers and help them gain important efficiencies in their day-to-

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 1   day operations. By providing its customers with a means of accessing
 2   SuccessWare’s traditionally desktop-based software while working in the field,
 3   SuccessWare sought to modernize an industry it has long valued, respected, and
 4   served.
 5   SuccessWare And Pointman Enter Into A Mutually-Beneficial Relationship
 6         16.    Beginning in the early 2000s, SuccessWare considered potential
 7   partners who could help it develop a mobile application that integrated with
 8   SuccessWare21. In 2006, SuccessWare and Successware Remote LLC, now known
 9   as Pointman, began to develop, test, and implement a wireless application that
10   would better serve the heating, air conditioning, warehouse, and service technician
11   marketplace. Ultimately, they introduced SWRemote, a mobile application that
12   allowed customers to access the reliable desktop-based management program they
13   had come to know and trust (SuccessWare21), but now using their mobile devices
14   as the portal.
15         17.    The partnership benefited both parties. Indeed, it enabled Pointman to
16   build its entire business on providing mobile access to SuccessWare’s software. It
17   was only by way of the agreement with SuccessWare that Pointman came to access
18   the proprietary information responsible for SuccessWare21’s features, including all
19   of its accounting and payroll management functionalities. Indeed, the importance
20   of SuccessWare’s partnership, software, and customers to Pointman’s business is
21   evidenced in the clearest possible terms by the fact that Pointman originally called
22   itself “Successware Remote LLC.” In turn, SuccessWare valued the arrangement
23   and partnership with Pointman, because it allowed SuccessWare to help its
24   tradesman customers by placing the business management software that they relied
25   on at their fingertips through SWRemote.
26         18.    Pointman’s partnership with SuccessWare also gave Pointman access
27   to SuccessWare’s confidential information, including the technical details of the
28   SuccessWare21 program—software architecture, design, source code, and APIs—

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 1   that enabled Pointman to design and operate SWRemote. Absent its relationship
 2   with SuccessWare, Pointman would not have had access to these trade secrets, nor
 3   would it have been able to develop a mobile application to serve the residential
 4   services industry.
 5         19.    Additionally, and critically, the partnership gave Pointman access to
 6   SuccessWare’s extensive customer base and customer lists that Pointman needed to
 7   effectively market SWRemote. Such information is invaluable in an industry as
 8   large and fragmented as the residential services industry. With hundreds of
 9   thousands of contracting firms across the United States, compiling a list of
10   customers to target is a massive undertaking, especially a list that includes detailed
11   information regarding customer history, preferences, and financial reliability.
12   Without access to SuccessWare’s confidential customer information, Pointman
13   would have had no business.
14         20.    On June 29, 2010, SuccessWare and Pointman entered into an
15   agreement (the “Ratification Agreement”) to establish written terms and conditions
16   for Pointman’s licensing of SuccessWare21 to support SWRemote. Section 2(a) of
17   the Ratification Agreement provided that SuccessWare granted Pointman a non-
18   exclusive, non-transferable right and license to use the SuccessWare21 application
19   programming interface (“SWAPI”), which was necessary to interface SWRemote
20   with SuccessWare21. Pursuant to Section 2(a) of the Ratification Agreement,
21   Pointman also agreed that it would not (and would not allow any third party to):
22                (A) decompile, disassemble, or otherwise reverse
23                engineer or attempt to reconstruct or derive any source
24                code (or underlying ideas, algorithms, structure or
25                organization) from the SWAPI or SuccessWare 21 by any
26                means whatsoever; (B) use the SWAPI in any manner to
27                provide service bureau, time-sharing or other software
28                services to third parties except as expressly provided

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 1                herein; (C) use the SWAPI in any manner to assist or take
 2                part in the development, marketing or sale of a product
 3                potentially    competitive     with    the    SWAPI       or
 4                SuccessWare 21;      (D)     remove    or    obscure     any
 5                identification, copyright or other proprietary or restrictive
 6                notices or legends contained or included in any of the
 7                SWAPI; or (E) modify, incorporate into or with other
 8                software, or create a derivative work of the SWAPI or any
 9                portion thereof.
10         21.    SuccessWare took numerous steps to ensure that its confidential and
11   proprietary information was appropriately protected under the Ratification
12   Agreement. Specifically, Pointman’s ability to use such proprietary information
13   was substantially restricted. Under Sections 2(a) and (c) of the Ratification
14   Agreement, SuccessWare and Pointman agreed that SuccessWare’s code, system
15   architecture, and programming interface constituted “the exclusive confidential and
16   proprietary information” of SuccessWare and would only be used for the
17   “development, implementation and support of, training of customers in the use of,
18   and sales and marketing of and for, the SWRemote [Application], and to interface
19   the SWRemote [Application] with SuccessWare 21.”
20         22.    Pursuant to Section 2(e) of the Ratification Agreement, Pointman
21   further agreed that, “in consideration for the license and rights granted in Section
22   2(a),” it would “pay to SuccessWare [royalty] commissions on all of SW Remote’s
23   monthly revenues from any and all Users of the SWRemote [Application] at the
24   rates, and subject to the conditions, set forth in the letter agreement between SW
25   Remote and SuccessWare dated June 15, 2009.” Such consideration, and
26   Pointman’s timely payments thereof, was critical to SuccessWare’s continued
27   partnership with Pointman.
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 1   Pointman Ceases Payment Of Contractually Required Royalties And Breaches
 2   Its Obligations Under The Ratification Agreement
 3         23.    Barely a month after agreeing to pay royalties to SuccessWare under
 4   the Ratification Agreement, Pointman requested a decrease in the agreed-upon rate.
 5   Pointman continued to request decreases to the contractually agreed-upon royalty
 6   rate and ultimately failed to pay in full royalties that it owed to SuccessWare.
 7         24.    In October 2019, Pointman unilaterally stopped making any royalty
 8   payments to SuccessWare. When a SuccessWare employee contacted Pointman
 9   regarding Pointman’s failure to make any payment for three consecutive months,
10   Steve Kiernan, the CEO and co-founder of Pointman, replied, with zero
11   explanation, “Payments have ended as of that last check.”
12   SuccessWare Sees A Need In The Marketplace And Begins To Build A
13   Premium Application Option For Customers
14         25.    Beginning around 2019, SuccessWare came to recognize that while
15   SWRemote, which was developed in 2010, offered a set of basic functions that were
16   sufficient for a subset of SuccessWare’s customers, there was an unmet need in the
17   marketplace for a more robust, premium application that would provide an option
18   for customers who wanted more features in their mobile application. SuccessWare
19   believed that its customers would appreciate the option to choose which application
20   best fit their business needs.
21   Pointman and SuccessWare’s Competitor Secretly Discuss A Sale
22         26.    As the relationship between SuccessWare and Pointman soured due to
23   Pointman’s failure to pay the required royalties, Pointman began discussing an
24   acquisition of Pointman by ServiceTitan—discussions that were not disclosed to
25   SuccessWare.
26         27.    It is clear why Pointman would be an attractive target for ServiceTitan:
27   Pointman not only had SuccessWare’s customer list, but it also had all of
28   SuccessWare’s confidential software information, including the source-code design

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  1   documents that are necessary to architect a software solution and database that
  2   manages important functions like payroll and accounting.
  3         28.    ServiceTitan finalized its acquisition of Pointman on or about May 21,
  4   2020, announcing it on May 26, 2020. That same day, May 26, 2020, ServiceTitan
  5   and Pointman initiated a smear campaign, using false and misleading email
  6   advertisements sent to SuccessWare’s customers in a bid to convince those
  7   customers that SuccessWare was about to “cut off” their mobile access to
  8   SuccessWare21, and that to protect the continuity of their business they had to
  9   switch to ServiceTitan. None of this was true.
 10   Pointman And ServiceTitan Publish False And Misleading Advertisements To
 11   SuccessWare’s Customers
 12         29.    During Pointman’s partnership with SuccessWare, it had learned about
 13   SuccessWare’s software, customers, and business. With its acquisition by
 14   ServiceTitan, it was now in a position to use that knowledge to advance the interests
 15   of its new owner and one of SuccessWare’s major competitors in the marketplace.
 16   Upon acquiring Pointman, and upon information and belief, ServiceTitan began
 17   using SuccessWare’s confidential information to damage SuccessWare.
 18         30.    On or about May 26, 2020, using the email domain of the company,
 19   Pointman, that it had just acquired, ServiceTitan emailed SuccessWare’s customers
 20   to inform them—falsely—that SuccessWare was terminating its relationship with
 21   Pointman, stating that “some of you [i.e., SuccessWare customers] have shared with
 22   us that you’ve been told that they [i.e., SuccessWare] intend to ultimately terminate
 23   our ability to integrate with them.” To entice SuccessWare clients to switch to
 24   ServiceTitan, Pointman stated that access to SWRemote would end on August 28,
 25   2020, but offered customers who switched to ServiceTitan by August 28, 2020
 26   access to SWRemote until February 1, 2021.
 27         31.    On the same day, May 26, 2020, ServiceTitan sent another false and
 28   misleading commercial advertising and promotion email to SuccessWare’s

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  1   customers. In that email, ServiceTitan stated that “Pointman will not be able to
  2   extend access to SWRemote . . . beyond August 28th, 2020 (the cutoff date) unless
  3   a go-forward agreement is established with ServiceTitan by that date” (emphasis
  4   added).
  5            32.   On May 27, 2020, ServiceTitan distributed a press release announcing
  6   its acquisition of Pointman. In the release, ServiceTitan’s CEO and co-founder, Ara
  7   Mahdessian, referred to the impending “termination” of SWRemote—a step that
  8   SuccessWare had neither taken nor decided to take—and pitched for the business of
  9   SuccessWare’s customers:
 10                  When we realized that their legacy software partner was
 11                  terminating their relationship, we knew that that would
 12                  force contractors to migrate their mobile capabilities to
 13                  an unproven app with little notice. Together with
 14                  Pointman’s leadership, we saw an opportunity to give
 15                  these businesses more time and a more reliable mobile
 16                  option to run their field operations.1
 17            33.   ServiceTitan fully understood the damage such false statements would
 18   cause SuccessWare. Indeed, since its acquisition of Pointman, ServiceTitan, by and
 19   through its representatives and in its own capacity, has repeatedly touted that
 20   customers have left SuccessWare and “have come over to ServiceTitan.” That was
 21   precisely the result that ServiceTitan hoped and intended for its misleading email
 22   communications to SuccessWare’s customers.
 23            34.   ServiceTitan’s misconduct did not stop there. On June 2, 2020,
 24   ServiceTitan sent another false and misleading promotional email to SuccessWare’s
 25   customers. In the email, ServiceTitan again falsely portrayed SuccessWare as
 26
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 27        Press Release, ServiceTitan Announces Acquisition of Pointman (May 26, 2020),
           https://www.contractormag.com/technology/software/article/21132334/
 28        servicetitan-announces-acquisition-of-pointman.


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  1   responsible for an impending cut-off of SWRemote users’ access to SuccessWare’s
  2   software, and offered to rescue SuccessWare’s customers supposedly abandoned by
  3   SuccessWare’s “decision.” According to ServiceTitan, its “leadership decided to
  4   step in when we heard about Successware shutting down SWRemote. We knew
  5   that this was an opportunity to provide some stability for Pointman customers
  6   blindsided by Successware’s decision.” ServiceTitan reiterated that it would be
  7   “extending access to SWRemote to all users to August 28, 2020,” and that for those
  8   users who chose to switch from SuccessWare to ServiceTitan before August 28,
  9   2020, “we will make SWRemote accessible until February 1, 2021 to make that
 10   transition as seamless as possible.”
 11         35.    ServiceTitan’s emails and representations were false. SuccessWare
 12   never said, to Pointman, ServiceTitan, or anyone else, that it was “shutting down
 13   SWRemote.” SuccessWare never said to anyone that it had made a “decision” to
 14   cut off access to SWRemote, nor had it made such a decision. In fact, it was
 15   ServiceTitan, which now owns both Pointman and SWRemote, which made the
 16   decision to pull the plug on SWRemote. Knowing that SuccessWare customers
 17   using SWRemote would be dismayed by news that SWRemote was shutting down,
 18   ServiceTitan landed on a heads-we-win, tails-you-lose strategy: make false and
 19   misleading statements about who made the decision, blame SuccessWare, and hope
 20   to anger SuccessWare’s customers and steal them away.
 21   ServiceTitan Relies On False And Misleading Statements To Further Solicit
 22   And Harass SuccessWare’s Customers
 23         36.    In the week following Pointman’s announced acquisition and the
 24   launch of ServiceTitan’s scheme to deceive SuccessWare’s customers,
 25   ServiceTitan’s sales representatives began calling SuccessWare’s customers and
 26   making false statements of fact. The purpose of these calls was, unsurprisingly, to
 27   continue spreading false and misleading information about SuccessWare to
 28   SuccessWare’s customers.

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  1         37.    The ServiceTitan sales representatives repeated and expanded upon the
  2   false and misleading statements in ServiceTitan’s May and June 2020 emails.
  3   ServiceTitan’s representatives told SuccessWare’s customers that ServiceTitan was
  4   “taking over SuccessWare.” This is false. They told them that SuccessWare’s
  5   features were “changing.” This is false.
  6         38.    ServiceTitan’s sales representatives even made false and misleading
  7   statements about who they were. Many of SuccessWare’s customers, tired of
  8   ServiceTitan’s aggressive sales tactics in the past, had stopped taking calls from
  9   ServiceTitan. Customers reported expressly requesting that their assistants not
 10   forward any calls received from ServiceTitan. ServiceTitan got around this barrier
 11   by choosing to falsely impersonate sales representatives of other companies,
 12   including SuccessWare, to induce SuccessWare’s customers to take their calls.
 13         39.    For example, a SuccessWare customer in Texas reported that, on May
 14   29, 2020, they received an email from a ServiceTitan representative that stated
 15   SuccessWare “planned on forcing all SWRemote customers onto Successware
 16   Mobile.” Confused by this email, they arranged a call. On the call, the
 17   ServiceTitan representative told the customer if the customer wanted to continue to
 18   use SWRemote, the customer needed to switch to ServiceTitan. Concerned and
 19   wanting more information, the customer directly asked whether ServiceTitan owned
 20   SuccessWare21. The ServiceTitan representative falsely stated that ServiceTitan
 21   did. At the time, the customer believed the ServiceTitan representative and reported
 22   feeling angry and frustrated with SuccessWare for not warning them of the
 23   ownership change.
 24         40.    Similarly, a SuccessWare customer in Georgia reported to
 25   SuccessWare that they received a call on June 4, 2020 from someone claiming to be
 26   an employee of Citrix Systems, a third-party provider of software to tradesmen.
 27   This customer had previously instructed their assistant not to transfer any calls from
 28   ServiceTitan. After the self-described Citrix representative left this customer two

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  1   phone messages, the customer took the call. When the caller began discussing
  2   purported problems with SuccessWare, this customer asked the caller “Who are you
  3   with?” and noted “I thought you were with Citrix.” The caller then informed the
  4   SuccessWare customer that he was in fact affiliated with ServiceTitan. The caller
  5   then proceeded to pitch ServiceTitan’s software.
  6         41.    On June 4, 2020, another SuccessWare customer in New Jersey
  7   notified SuccessWare that their business had recently received a call from
  8   ServiceTitan in which the caller originally represented himself as being affiliated
  9   with SuccessWare. This customer reported that this was intended to “get [them] on
 10   the phone.” This customer relayed that this communication upset them.
 11         42.    On June 5, 2020, another SuccessWare customer received a call from
 12   someone who identified himself as “Andrew,” and who purported to be affiliated
 13   with SuccessWare. When one of this customer’s employees answered, the caller
 14   claimed that this customer “was expecting his call.” The customer then learned that
 15   the caller was actually representing ServiceTitan and that the caller had falsely
 16   stated that he was with SuccessWare.
 17         43.    These incidents, as examples of ServiceTitan’s illegal tactics, are
 18   merely the tip of the iceberg.
 19                                    CAUSES OF ACTION
 20                              FIRST CAUSE OF ACTION
 21                          Lanham Act Against All Defendants
 22                                    (15 U.S.C. § 1051 et seq.)
 23         44.    Plaintiff repeats, re-alleges, and hereby incorporates by reference the
 24   allegations set forth in paragraphs 1 through 43.
 25         45.    Under Section 43(a)(1)(B) of the Lanham Act, “[a]ny person who, on
 26   or in connection with any goods or services . . . uses in commerce any . . . false or
 27   misleading description of fact, or false or misleading representation of fact,
 28   which . . . in commercial advertising or promotion, misrepresents the nature,

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  1   characteristics, qualities, or geographic origin of his or her or another person’s
  2   goods, services, or commercial activities, shall be liable in a civil action by any
  3   person who believes that he or she is or is likely to be damaged by such act.”
  4   15 U.S.C. § 1125(a)(1)(B).
  5         46.    ServiceTitan has, in the context of its commercial advertisements or
  6   promotions directed at SuccessWare’s customers, made false and misleading
  7   statements of fact that misrepresent the nature, characteristics, and qualities of
  8   SuccessWare’s goods, services, and commercial activities.
  9         47.    These misrepresentations concerned whether SuccessWare would
 10   continue to offer its products and services to consumers. Specifically, on June 2,
 11   2020, ServiceTitan sent an email asserting that “ServiceTitan and Pointman
 12   leadership decided to step in when we heard about Successware shutting down
 13   SWRemote. We knew that this was an opportunity to provide some stability for
 14   Pointman customers blindsided by Successware’s decision . . . .”
 15         48.    This statement is literally false. SuccessWare has done nothing to
 16   “shut[ ] down SWRemote,” and SuccessWare never made any statement—not to
 17   Pointman, ServiceTitan, or anyone else—that it had made a “decision” to cut off
 18   SWRemote users’ access to SuccessWare. Indeed, SuccessWare has made no such
 19   decision, and ServiceTitan’s statement that it has is without basis in fact.
 20         49.    ServiceTitan’s June 2, 2020 email also stated that “[w]e are extending
 21   access to SWRemote to all users to August 28, 2020.” It continued that “for all
 22   Successware users who decide to sign up for ServiceTitan before August 28, we
 23   will make SWRemote accessible until February 1, 2021 to make that transition as
 24   seamless as possible.” The false assertion that SuccessWare was shutting down
 25   SWRemote was thus made within an advertisement or promotion offering that
 26   ServiceTitan would extend access to SWRemote by more than five months if
 27   SuccessWare users switched to ServiceTitan. ServiceTitan’s deceptive statement,
 28   in other words, was clearly intended to injure SuccessWare both by poaching its

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  1   customers and by damaging its reputation in the market.
  2         50.    The false statements in ServiceTitan’s June 2, 2020 email repeated and
  3   extended false statements in a prior email sent by ServiceTitan to SuccessWare’s
  4   customers on May 26, 2020. That May 26 email advertisement stated that
  5   “Pointman will not be able to extend access to SWRemote . . . beyond August 28th,
  6   2020 (the cutoff date) unless a go-forward agreement is established with
  7   ServiceTitan by that date” (emphasis added).
  8         51.    This statement is literally false. ServiceTitan’s use of the phrase “will
  9   not be able” must be understood as a representation that it was in fact unable to
 10   continue to extend SuccessWare’s customers’ access to SWRemote unless those
 11   customers move their business to ServiceTitan. The statement must, in turn, be
 12   understood as asserting that SuccessWare, and not ServiceTitan, was responsible for
 13   any “cutoff” of SWRemote users’ access to the SuccessWare software.
 14   ServiceTitan’s false representation would lead SuccessWare’s customers to believe
 15   that SuccessWare was responsible for cutting off its own customers’ access to
 16   SWRemote.
 17         52.    None of these assertions are true. SuccessWare never made any
 18   statement, to ServiceTitan or anyone else, suggesting that it would cut off
 19   SWRemote users’ access to SuccessWare, and it has made no decision to do so.
 20         53.    The motivation for these statements is clear from the face of
 21   ServiceTitan’s false advertisements. These literally false statements were made
 22   with the intent to deceive SuccessWare’s customers, and in furtherance of
 23   ServiceTitan’s scheme to induce those customers to sever their commercial
 24   relationship with SuccessWare and move their business to ServiceTitan.
 25         54.    Even if ServiceTitan’s advertisements were not literally false, they
 26   nonetheless misled, confused, or deceived, or are likely to mislead, confuse, or
 27   deceive, SuccessWare’s customers. That is, the statements are likely to deceive
 28   SuccessWare’s customers who use SWRemote into believing that SuccessWare will

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  1   cut off access to the SuccessWare software that is necessary to make the application
  2   work. And those SuccessWare customers, who need uninterrupted access to a
  3   mobile application, are more likely to take the action that ServiceTitan’s false and
  4   misleading advertisements suggest and move their business to ServiceTitan. That is
  5   what ServiceTitan says must happen by “August 28th, 2020 (the cutoff date)” if
  6   SuccessWare’s customers that use SWRemote hope to continue to use that mobile
  7   application. The unmistakable message of ServiceTitan’s false and misleading
  8   advertisements is that SWRemote users will have a useless, dead application, and
  9   suffer disruptions in their business, “unless a go-forward agreement is established
 10   with ServiceTitan by” August 28, 2020.
 11         55.    ServiceTitan’s false and misleading statements have caused or are
 12   likely to cause competitive and commercial injury to SuccessWare in an amount to
 13   be determined at trial. The false statements have caused, and are likely to further
 14   cause, SuccessWare’s customers to end their relationship with SuccessWare and
 15   move their business to ServiceTitan. Indeed, that is what the false and misleading
 16   statements were designed to accomplish. ServiceTitan’s intent to capitalize on their
 17   dissemination of false and confusing advertisements is reflected in its deceptive
 18   phone calls to SuccessWare’s customers, in which ServiceTitan employees have
 19   falsely claimed to be calling from SuccessWare or from another firm that makes
 20   software for tradesmen, only then to switch to promoting ServiceTitan in a bid to
 21   capture for ServiceTitan the SuccessWare customers who have been misled and
 22   deceived. ServiceTitan’s false and misleading statements have materially deceived
 23   or are likely to materially deceive users of SWRemote—users who are also
 24   SuccessWare’s customers. Moreover, ServiceTitan made its false and misleading
 25   statements with express intent to deceive SuccessWare’s customers. ServiceTitan
 26   made those intentionally deceptive statements in furtherance of its scheme to induce
 27   SuccessWare’s customers to leave SuccessWare and move their business to
 28   ServiceTitan.

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  1         56.    ServiceTitan’s statements were made in interstate commerce:
  2   ServiceTitan is incorporated in Delaware with its principal place of business in
  3   California, and Pointman is a New York limited liability corporation. Both
  4   ServiceTitan and Pointman directed their false and misleading commercial
  5   advertisements and promotions to SuccessWare’s customers located throughout the
  6   United States. For example, ServiceTitan and Pointman have contacted a number
  7   of SuccessWare’s customers located in, among other states, California, Georgia,
  8   Massachusetts, and New Jersey. SuccessWare has customers in at least forty-two
  9   states, and upon information and belief, all of SuccessWare’s customers were
 10   targeted by ServiceTitan.
 11         57.    Unless restrained by this Court, ServiceTitan will continue its
 12   campaign of false and misleading commercial advertisements and promotions, to
 13   SuccessWare’s further harm. SuccessWare is entitled to an injunction ordering
 14   ServiceTitan not to make any further statements alleging or suggesting that
 15   SWRemote users’ access to SuccessWare will be terminated, blocked, or otherwise
 16   “cut off.”
 17         58.    Additionally, SuccessWare is entitled to an injunction ordering
 18   ServiceTitan to disseminate corrective advertising designed to neutralize the effects
 19   of their prior false and misleading statements.
 20                               SECOND CAUSE OF ACTION
 21     False and Misleading Advertising under California’s False Advertising Law
 22                                  Against All Defendants
 23                         (Cal. Bus. & Prof. Code § 17500 et seq.)
 24         59.    Plaintiff repeats, re-alleges, and hereby incorporates by reference the
 25   allegations set forth in paragraphs 1 through 58.
 26         60.    California Business & Professions Code § 17500 et seq. prohibits
 27   certain deceptive practices in connection with the dissemination in any manner of
 28   statements which are likely to deceive members of the public to purchase products

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  1   and services such as the software offered by the parties to this action.
  2         61.      ServiceTitan’s untrue and misleading statements, as alleged herein,
  3   have deceived and are likely to continue to deceive members of the public, and
  4   upon information and belief, it was Defendants’ intention to so deceive.
  5         62.      As a direct and proximate result of the misleading and false
  6   representations contained in ServiceTitan’s advertisements, SuccessWare has
  7   suffered an injury in fact and has lost money and business.
  8         63.      SuccessWare requests that ServiceTitan be ordered to make restitution
  9   of any money, property, goods, or services that may have been acquired through
 10   their violation of California Business & Professions Code § 17500 as alleged herein.
 11         64.      Pursuant to Sections 17203 and 17535 of the California Business &
 12   Professions Code, and the Court’s inherent equitable power, SuccessWare seeks
 13   injunctive relief to enjoin ServiceTitan from further issuing false and misleading
 14   advertisements in violation of California Business & Professions Code § 17500, as
 15   well as any other relief as this Court may deem proper. SuccessWare further seeks
 16   restitution of all money lost as a result of Defendants’ misrepresentations.
 17                               THIRD CAUSE OF ACTION
 18         Trade Secret Misappropriation Under the Defend Trade Secrets Act
 19                                   Against All Defendants
 20                                   (18 U.S.C. § 1836 et seq.)
 21         65.      Plaintiff repeats, re-alleges, and hereby incorporates by reference the
 22   allegations set forth in paragraphs 1 through 64.
 23         66.      SuccessWare owns and possesses certain confidential and proprietary
 24   information, including but not limited to SuccessWare’s software platforms,
 25   accompanying source code and system architecture, databases, and customer
 26   information. SuccessWare invested significant time, effort, and financial
 27   investment in the development of these processes, systems, and compilations of
 28   information.

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  1         67.    SuccessWare’s confidential and proprietary information derives
  2   independent economic value from not being generally known to the public or to
  3   persons who can obtain economic value from its disclosure or use.
  4         68.    SuccessWare has made reasonable efforts under the circumstances to
  5   preserve the confidentiality of their trade secrets. These efforts include, but are not
  6   limited to, requiring Pointman to enter into a written agreement acknowledging the
  7   proprietary nature of SuccessWare’s software, and SuccessWare’s source code,
  8   systems, and processes, as well as other confidential information, and agreeing not
  9   to disclose or use that information absent SuccessWare’s written consent; placing
 10   strict limitations on who could access the network that holds such information and
 11   requiring those individuals to use a password; and preventing the exportation or
 12   printing of certain compilations of customer information.
 13         69.    This confidential and proprietary information comprises
 14   SuccessWare’s trade secrets.
 15         70.    Through its relationship with SuccessWare, Pointman gained access to
 16   SuccessWare’s proprietary information. This information was invaluable:
 17   SuccessWare21 contained, for example, key features that far surpassed those of
 18   market participants, including the platform’s unique accounting and payroll
 19   functionalities. Likewise, SuccessWare’s extensive customer information provided
 20   SuccessWare with a significant competitive advantage over others. SuccessWare
 21   began collecting, analyzing, and refining this information in 1994— twenty-six
 22   years of effort to collect and curate valuable customer information in a field where
 23   customer information is highly fragmented.
 24         71.    ServiceTitan was certainly aware of the financial and reputational gains
 25   that could come from possessing such information. As SuccessWare’s competitor,
 26   ServiceTitan knew firsthand the difficulty of gathering and analyzing such
 27   information. And through its subsidiary, ServiceTitan was similarly aware that this
 28   information was confidential and protected by contractual restrictions and

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  1   obligations.
  2         72.      By foregoing compliance with these obligations and choosing, upon
  3   information and belief, to provide SuccessWare’s proprietary information to
  4   ServiceTitan, Pointman has breached its duty to maintain confidentiality. There is
  5   no clearer instance of misappropriation than furnishing confidential and
  6   competitively advantageous information to a competitor in breach of a duty. Upon
  7   information and belief, Pointman knew and yet willfully disregarded that furnishing
  8   protected information to a competitor constituted misappropriation.
  9         73.      Likewise, ServiceTitan, upon information and belief, was well aware
 10   that when Pointman shared this information with it, Pointman was misappropriating
 11   protectable trade secret information. But ServiceTitan was not focused on whether
 12   the conduct was wrongful or not—it was intent on doing whatever it could to gain
 13   an edge on the competition.
 14         74.      Upon information and belief, if ServiceTitan is not enjoined, it will
 15   continue to use, disclose, or otherwise misappropriate SuccessWare’s confidential
 16   trade secret information for its own benefit and to SuccessWare’s detriment.
 17   SuccessWare therefore seeks preliminary and permanent injunctive relief, pursuant
 18   to 18 U.S.C. § 1836(b)(3)(A), to protect the secrecy of its trade secrets and to
 19   remedy injury to SuccessWare’s monetary, commercial, and reputational interests.
 20         75.      SuccessWare also seeks an award of actual damages in an amount to
 21   be proven at trial, pursuant to 18 U.S.C. § 1836(b)(3)(B).
 22         76.      Pursuant to 18 U.S.C. § 1836(b)(3)(B), SuccessWare is further entitled
 23   to damages for ServiceTitan’s unjust enrichment resulting from the
 24   misappropriation of its trade secrets.
 25         77.      Because ServiceTitan misappropriated SuccessWare’s confidential
 26   information and trade secrets for an improper purpose and in a willful and malicious
 27   manner, SuccessWare seeks exemplary damages in the maximum possible amount
 28   beyond its actual damages, pursuant to 18 U.S.C. § 1836(b)(3)(C), and attorneys’

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  1   fees, pursuant to 18 U.S.C. § 1836(b)(3)(D).
  2                            FOURTH CAUSE OF ACTION
  3    Trade Secret Misappropriation under California’s Uniform Trade Secrets Act
  4                                  Against All Defendants
  5                              (Cal. Civ. Code § 3426 et seq.)
  6         78.    Plaintiff repeats, re-alleges, and hereby incorporates by reference the
  7   allegations set forth in paragraphs 1 through 77.
  8         79.    For all the reasons set forth in relation to the above cause of action for
  9   trade secret misappropriation under the Defend Trade Secrets Act, ServiceTitan has
 10   misappropriated SuccessWare’s trade secrets in violation of California state law.
 11         80.    ServiceTitan has acted with the express intent on gaining an advantage
 12   over SuccessWare by taking SuccessWare’s confidential information. SuccessWare
 13   is entitled to damages for the harm suffered, in an amount to be proven at trial.
 14         81.    Absent injunctive relief, SuccessWare will continue to suffer harm as
 15   ServiceTitan wields the confidential information that SuccessWare took years to
 16   compile. Accordingly, SuccessWare requests preliminary and injunctive relief
 17   enjoining ServiceTitan from continuing to use SuccessWare’s proprietary materials.
 18   SuccessWare also requests that this Court order ServiceTitan to return all of
 19   SuccessWare’s confidential and proprietary information currently in its possession.
 20         82.    Because ServiceTitan’s misappropriation has been willful,
 21   SuccessWare is entitled to exemplary damages in an amount not to exceed twice the
 22   award of damages and attorney’s fees.
 23                              FIFTH CAUSE OF ACTION
 24                         Breach of Contract Against Pointman
 25         83.    Plaintiff repeats, re-alleges, and hereby incorporates by reference the
 26   allegations set forth in paragraphs 1 through 82.
 27         84.    On June 29, 2010, SuccessWare and Defendant Pointman, for valuable
 28   consideration, entered into a valid and enforceable agreement to establish the terms

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  1   and conditions for Pointman’s license to use SuccessWare’s proprietary and
  2   confidential information. SuccessWare has performed all of the conditions,
  3   covenants, and promises required and is accordingly not in breach.
  4         85.    Pursuant to the agreement, Pointman agreed not to engage in a number
  5   of prohibited activities. The agreement prohibited the use of SuccessWare’s
  6   confidential information to develop, market, or sell a product that was “potentially
  7   competitive with” SuccessWare21. And if such a product were developed, it would
  8   remain the property of SuccessWare—that is, neither Pointman nor its successor has
  9   any right to any product that is developed in reliance, in whole or in part, on
 10   SuccessWare’s confidential information.
 11         86.    The agreement further prohibited the use, copying, or disclosure of
 12   “Confidential Information,” which includes but is not limited to SuccessWare’s
 13   software, source code, and system architecture and design.
 14         87.    And yet, in direct contravention of this obligation, Pointman has, upon
 15   information and belief, disclosed SuccessWare’s confidential materials and
 16   information to ServiceTitan. Upon information and belief, Pointman has also used
 17   and is likely to continue using SuccessWare’s proprietary and confidential
 18   information to assist in the development and marketing of a product that directly
 19   competes with SWRemote. Pointman’s actions constitute a clear and willful breach
 20   of the agreement.
 21         88.    Finally, as consideration for entering the agreement, Pointman agreed
 22   to “pay to Success Ware [royalty] commissions on all of SW Remote’s monthly
 23   revenues from any and all Users of the SWRemote [Application].”
 24         89.    Pointman has blatantly disregarded this provision. Pointman failed to
 25   fully pay its monthly royalties. When confronted by SuccessWare regarding its
 26   failure to pay, Pointman represented without explanation that “[p]ayments have
 27   ended.” Having failed to comply with its contractual obligations to pay royalties,
 28   Pointman is in breach.

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  1         90.    The foregoing breaches of contract have directly and proximately
  2   harmed SuccessWare’s business, economic, and reputational interests, as detailed
  3   throughout this Complaint. Accordingly, SuccessWare seeks compensatory
  4   damages, in an amount to be proven at trial.
  5         91.    Because Pointman has acted willfully, maliciously, and fraudulently,
  6   Plaintiff seeks punitive damages in an amount as this Court deems just and proper.
  7                               SIXTH CAUSE OF ACTION
  8               Tortious Interference with Existing Business Relationships
  9                                   Against All Defendants
 10         92.    Plaintiff repeats, re-alleges, and hereby incorporates by reference the
 11   allegations set forth in paragraphs 1 through 91.
 12         93.    As detailed above, SuccessWare has built its customer base over
 13   twenty-six years of operation. The business relationships that SuccessWare has
 14   with each of these customers is extraordinarily valuable.
 15         94.    It is this value that prompted ServiceTitan’s wrongful interference with
 16   such business relationships. Moreover, on information and belief, this interference
 17   is intentional and has been undertaken with the express purpose of harming
 18   SuccessWare.
 19         95.    By falsely representing to SuccessWare’s customers that SuccessWare
 20   was shutting down SWRemote and that customers would be stranded if they did not
 21   switch to another service provider, ServiceTitan has impaired or otherwise
 22   interfered with SuccessWare’s contractual and existing business relationships with
 23   consumers and other third parties.
 24         96.    Defendants’ interference with SuccessWare’s business relationships is
 25   likely to result, and has resulted, in substantial injury, including lost sales and
 26   profits that would have been realized absent Defendants’ interference, as well as a
 27   loss of reputation.
 28         97.    Accordingly, ServiceTitan’s conduct constitutes tortious interference

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  1   with contractual and existing business relationships and SuccessWare is entitled to
  2   appropriate compensatory, punitive, and injunctive and declaratory relief.
  3                             SEVENTH CAUSE OF ACTION
  4     Tortious Interference with Contractual Relationships Against ServiceTitan
  5         98.    Plaintiff repeats, re-alleges, and hereby incorporates by reference the
  6   allegations set forth in paragraphs 1 through 97.
  7         99.    ServiceTitan interfered with the contractual relationship between
  8   SuccessWare and Pointman. As detailed in the above allegations, SuccessWare and
  9   Pointman entered into a valid contractual relationship, and ServiceTitan induced
 10   Pointman to breach those contractual duties. This inducement has directly
 11   interfered with the previously existing contractual relationship.
 12         100. As Pointman’s parent company, ServiceTitan was aware of the
 13   contractual relationship between Pointman and SuccessWare and the obligations
 14   that attached to that relationship. Despite this knowledge, upon information and
 15   belief, ServiceTitan intentionally, purposefully, and unjustifiably interfered with
 16   SuccessWare’s contractual relationship with Pointman by inducing Pointman to
 17   breach its obligations.
 18         101. As described in the other causes of action alleged herein,
 19   ServiceTitan’s actions did in fact cause Pointman to breach such obligations. As a
 20   direct and proximate cause of ServiceTitan’s interference with SuccessWare and
 21   Pointman’s contractual relationship, SuccessWare has suffered and continues to
 22   suffer substantial injury, including, as described in detail above, lost sales and
 23   profits that SuccessWare could and would have realized absent ServiceTitan’s
 24   interference. Upon information and belief, ServiceTitan intended for these harms to
 25   result in order to gain a competitive advantage over SuccessWare.
 26         102. ServiceTitan’s wrongful conduct constitutes tortious interference with
 27   SuccessWare’s contractual relationship with Pointman. Because this interference
 28   has already harmed and continues to harm SuccessWare, SuccessWare is entitled to

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  1   appropriate compensatory, punitive, injunctive, and declaratory relief.
  2                            EIGHTH CAUSE OF ACTION
  3           Unfair Competition Under California’s Unfair Competition Law
  4                                 Against All Defendants
  5                         (Cal. Bus. & Prof. Code § 17200 et seq.)
  6         103. Plaintiff repeats, re-alleges, and hereby incorporates by reference the
  7   allegations set forth in paragraphs 1 through 102.
  8         104. California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code
  9   § 17200 et seq., prohibits any “unlawful, unfair or fraudulent” business practice.
 10   The purpose of the UCL is to protect both consumers and competitors by promoting
 11   fair competition in commercial markets.
 12         105. A business practice is “unfair” under the UCL if it offends an
 13   established public policy or is immoral, unethical, oppressive, unscrupulous or
 14   substantially injurious to consumers. As alleged herein, ServiceTitan has made and
 15   continues to make false representations as to the continued operation of
 16   SuccessWare’s software products and services. ServiceTitan relayed these
 17   misrepresentations to SuccessWare’s customers directly and to the consuming
 18   public more generally through the dissemination of misleading promotional emails,
 19   by falsely impersonating SuccessWare representatives, and through the publication
 20   of false and misleading press releases. ServiceTitan took such actions with the aim
 21   of gaining a competitive advantage over SuccessWare. Such tactics are immoral,
 22   unethical, and in direct contravention of the fair competition that the UCL seeks to
 23   promote.
 24         106. A business practice is “fraudulent” under the UCL if it is likely to
 25   deceive members of the consuming public. ServiceTitan’s acts and practices,
 26   including the dissemination of false and confusing advertisements and the false
 27   impersonation of SuccessWare’s employees, are likely to mislead and have misled
 28   members of the consuming public and will continue to mislead in the future. Upon

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  1   information and belief, ServiceTitan acted with the intent to induce reliance by
  2   consumers to switch software platforms from SuccessWare to ServiceTitan.
  3         107. The violation of any law constitutes an “unlawful” business practice
  4   under the UCL. As detailed more fully in the accompanying causes of action,
  5   ServiceTitan’s acts and practices were intended to or did result in violations of the
  6   Lanham Act, 15 U.S.C. § 1051 et seq.; the Defend Trade Secrets Act, 18 U.S.C.
  7   § 1836 et seq.; and state statutory and common law, including false advertising
  8   under California Business & Professions Code § 17500.
  9         108. Accordingly, ServiceTitan’s trade practices constitute unfair,
 10   fraudulent, and unlawful business practices within the meaning of the UCL.
 11         109. The UCL also prohibits any “unfair, deceptive, untrue or misleading
 12   advertising.” For the reasons set forth more fully above, ServiceTitan has engaged
 13   in unfair, deceptive, untrue, and misleading advertising in violation of the Lanham
 14   Act, 15 U.S.C. § 1051 et seq., and California Business & Professions Code § 17500.
 15         110. As a direct and proximate result of ServiceTitan’s unfair, fraudulent,
 16   and unlawful conduct, SuccessWare has suffered economic, competitive, and
 17   commercial injury. Specifically, SuccessWare has lost customers and experienced
 18   a diminution in the value of its business.
 19         111. ServiceTitan’s violations of the UCL are ongoing and present a
 20   continuing threat that members of the consuming public will be deceived into
 21   purchasing products and services based on false and misleading representations and
 22   that SuccessWare will continue to suffer economic, competitive, and commercial
 23   injury.
 24         112. Pursuant to California Business & Professions Code § 17203,
 25   SuccessWare is entitled to preliminary and permanent injunctive relief enjoining
 26   ServiceTitan from continuing its unfair, fraudulent, and unlawful trade practices.
 27         113. Pursuant to California Business & Professions Code § 17203,
 28   ServiceTitan is required to disgorge and restore to SuccessWare all of

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  1   ServiceTitan’s profits and property acquired through Defendants’ unfair
  2   competition with SuccessWare, or such portion of those revenues as the Court may
  3   find equitable.
  4                                  PRAYER FOR RELIEF
  5         WHEREFORE, Plaintiff SuccessWare prays for judgment against
  6   Defendants and relief as follows:
  7                (A)    Entry of a preliminary and permanent injunction enjoining
  8                Defendants and their successors, agents, representatives, employees,
  9                and all other persons acting in concert with them, from making untrue
 10                or misleading statements as described herein and ordering that
 11                Defendants return to Plaintiff any and all confidential materials
 12                belonging to Plaintiff that Defendants or Defendants’ affiliates may
 13                have in their possession;
 14                (B)    Recovery of compensatory damages in an amount to be
 15                determined at trial;
 16                (C)    Recovery of restitution from Defendants in an amount to be
 17                determined at trial, and/or any interest in money or property, which
 18                may have been acquired by means of Defendants’ unfair competition
 19                or other unlawful acts;
 20                (D)    Award of statutory, treble, and/or punitive damages to the extent
 21                permitted by law;
 22                (E)    Recovery of reasonable attorney’s fees and costs and other
 23                expenses incurred in this action;
 24                (F)    Recovery of pre-judgment and post-judgment interest; and
 25                (G)    Any and all other relief as the Court may deem just and proper.
 26                              DEMAND FOR JURY TRIAL
 27         Plaintiff respectfully requests a jury trial on all claims for relief.
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  1   Dated:   June 10, 2020             Respectfully submitted,
  2                                      SIMPSON THACHER & BARTLETT LLP
  3                                      By /s/ Harrison (Buzz) Frahn
  4                                         Harrison (Buzz) Frahn
  5                                         Counsel for Plaintiff SuccessWare, Inc.
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